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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


SYBMOLOGY INNOVATIONS LLC,

           Plaintiff,                             C.A. No. 1:19-cv-881-MN

     v.
                                                 JURY TRIAL DEMANDED
GLANBIA PERFORMANCE NUTRITION
(MANUFACTURING), INC. d/b/a OPTIMUM
NUTRITION, INC.,

           Defendant.


     GLANBIA PERFORMANCE NUTRITION (MANUFACTURING), INC.’S
        OPENING BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
                 FOR FAILURE TO STATE A CLAIM

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I.       SUMMARY OF THE ARGUMENT

         Glanbia Performance Nutrition (Manufacturing), Inc. d/b/a Optimum Nutrition, Inc.,

(“Glanbia”) requests that the Court dismiss this case because U.S. Patent No. 8,936,190 (the

“’190 Patent”) does not embrace patent-eligible subject matter. The claims of the ’190 Patent are

directed to the abstract idea of data recognition and retrieval, and none of the claims recites any

specific non-conventional hardware or software. In Secured Mail Solutions LLC v. Universal

Wilde, Inc., 873 F.3d 905, 912 (Fed. Cir. 2017), the Federal Circuit held claims directed to

decoding a QR code—like the claims at issue in this case—invalid under Alice. The claims of the

’190 Patent cannot be meaningfully distinguished from the Secured Mail claims and are thus

invalid for the same reasons.

         Resolving this issue does not require discovery or formal claim construction. To avoid

waste of judicial and party resources unnecessarily litigating invalid patents, Glanbia thus

requests that the Court dismiss the First Amended Complaint pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure for failure to state a claim upon which relief can be granted.

II.      NATURE AND STAGE OF PROCEEDINGS

         On May 10, 2019, Symbology filed this lawsuit accusing Glanbia1 of infringing the ’190

Patent. Symbology accuses Glanbia of infringing “at least Claim 1” of the ’190 Patent by

Glanbia’s alleged “internal testing” of a Quick Response Code (“QR code”) incorporated into

product packaging:




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  Symbology’s original Complaint for Patent Infringement named “Optimum Nutrition, Inc.” as a
defendant. D.I. 1. On May 21, 2019, Symbology filed a First Amended Complaint for Patent
Infringement naming “Glanbia Performance Nutrition (Manufacturing), Inc. d/b/a Optimum
Nutrition, Inc.” as a defendant. D.I. 6 (“Amd. Compl.”)..


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Amd. Compl. ¶¶ 17–18 (annotated).

III.   STATEMENT OF THE FACTS

       The ’190 Patent is entitled “System and Method for Presenting Information about an

Object on a Portable Electronic Device.” It is directed to “enabling a portable electronic device

to retrieve information about an object when the object's symbology, e.g., a barcode, is

detected.” ’190 Pat., Abstract.

       Claim 1 of the ’190 Patent, set forth below, is representative of the claims:

       1. A method comprising:

           capturing a digital image using a digital image capturing device that is part of
              an electronic device;

           detecting symbology associated with the digital image using the electronic
               device;

           decoding the symbology to obtain a decode string using one or more visual
              detection applications residing on the electronic device;

           sending the decode string to a remote server for processing;




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            receiving information about the digital image from the remote server wherein
                the information is based on the decode string;

            displaying the information on a display device associated with the electronic
                device.

’190 Pat., Cl. 1.

        Under Symbology’s characterization of the ’190 Patent, this claim can be broken down

into six main steps: (1) capturing an image with a camera or a scanner on an “electronic device”

(e.g., taking a photograph or scanning an image with a smartphone); (2) detecting a symbology

(e.g., recognizing a barcode in the captured image); (3) decoding the symbology to obtain a

“decode string” (e.g., reading information from the barcode); (4) sending the “decode string” to a

“server” for processing (e.g., requesting a webpage based on the information obtained from the

barcode); (5) receiving information from the “server” in response (e.g., receiving the contents of

the webpage ); and (6) displaying the information received on the electronic device (e.g.,

displaying a webpage). Put simply, these steps are directed to recognizing and retrieving

information associated with a pattern.

        The applicant made clear through his own language in the specification that the

components and processes for carrying out the claimed method were conventional. For example,

the claimed “electronic device” can be virtually any mobile device capable of taking a

photograph or scanning an image. Id., 2:3–6 (“Examples of the portable electronic devices that

contain both applications and imaging systems include Apple Computer’s IPhone, Google’s

Droid, and various mobile devices from Motorola”); id., 3:3–7 (“Using any applicable visual

detection device (e.g., a camera, scanner, or other device) on the portable electronic device, the

user may select an object by scanning or capturing an image of symbology (e.g., barcodes)

associated with the object.”). The applicant further acknowledged that various programs and




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applications operable on an electronic device to scan and decode a barcode were available in the

prior art. Id., 3:44–46 (“Examples of applications that allow scanning include Neomedia’s Neo

Reader, Microsoft’s Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy, etc.”). According

to the ’190 Patent, once a barcode is decoded (using any of these existing applications), the

“decode string” (i.e., the information obtained from the barcode) is then “sent” to a “remote

server” to retrieve information (e.g., webpage content) that is then displayed on the electronic

device. Id., 3:25–41.

IV.    LEGAL STANDARDS

       A.      Legal Standard for Dismissal Pursuant to Rule 12(b)(6).

               1.       This Case Should Be Disposed of at the Pleading Stage Through Rule
                        12(b)(6).

       Under Rule 12(b)(6), a party may move to dismiss a complaint that fails to state a claim

upon which relief can be granted. To survive a Rule 12(b)(6) motion, a complaint “must allege

facts that ‘raise a right to relief above the speculative level on the assumption that the allegations

in the complaint are true (even if doubtful in fact).’” Victaulic Co. v. Tieman, 499 F.3d 227, 234

(3rd Cir. 2007) (citation omitted). In deciding a Rule 12(b)(6) motion, courts consider documents

attached to or incorporated into the complaint as well as facts alleged in the complaint. Gibbs v.

Coupe, No. CV 14-790-SLR, 2015 WL 6870033, at *1 (D. Del. Nov. 6, 2015) (citation omitted).

Although factual allegations are taken as true, legal conclusions are given no deference—those

matters are left for the court to decide. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (noting

tenet that allegations are taken as true on a motion to dismiss “is inapplicable to legal

conclusions”). “[W]hen the allegations in a complaint, however true, could not raise a claim of

entitlement to relief [as a matter of law], this basic deficiency should . . . be exposed at the point




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of minimum expenditure of time and money by the parties and the court.” Cuvillier v. Sullivan,

503 F.3d 397, 401 (5th Cir. 2007) (internal citations and quotations omitted).

       Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J.,

concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e

perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a

validity determination under § 101.”).

               2.      The Law of 35 U.S.C. § 101

       Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101.

Also, the law recognizes three exceptions to patent eligibility: “laws of nature, physical

phenomena, and abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis

added). Abstract ideas are ineligible for patent protection because a monopoly over these ideas

would preempt their use in all fields. See Bilski, 561 U.S. at 611–12. In other words, “abstract

intellectual concepts are not patentable, as they are the basic tools of scientific and technological

work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

       Determining whether a patent claim is impermissibly directed to an abstract idea involves

two steps. First, the court determines “whether the claims at issue are directed to a patent-

ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014).

Second, if the claim contains an abstract idea, the court evaluates whether there is “an ‘inventive

concept’—i.e., an element or combination of elements that is sufficient to ensure that the patent


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in practice amounts to significantly more than a patent upon the ineligible concept itself.” Id.

(internal quotations and citations omitted).

       Transformation into a patent-eligible application requires “more than simply stating the

abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed

in the human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource

Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not

meaningfully limited if it includes only token or insignificant pre- or post-solution activity—such

as identifying a relevant audience, category of use, field of use, or technological environment.

Mayo, 132 S. Ct. at 1297–98, 1300-01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175,

191–92 & n.14 (1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally, “simply

appending conventional steps, specified at a high level of generality, to laws of nature, natural

phenomena, and abstract ideas cannot make those laws, phenomena, and ideas patentable.”

Mayo, 132 S. Ct. at 1300; see also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317,

1323 (Fed. Cir. 2012) (“Such a broad and general limitation does not impose meaningful limits

on the claim’s scope.”).

V.     ARGUMENT

       Symbology’s First Amended Complaint should be dismissed. The claims of the ’190

Patent are invalid under 35 U.S.C. § 101 because they fail both steps of the Alice test. Each of

the claims is directed to the abstract idea of data recognition and retrieval. Abstract ideas are not

eligible for patenting. None of the claims contains an “‘inventive concept’ . . . sufficient to

ensure that the patent in practice amounts to significantly more than a patent upon the ineligible

concept itself.” See Alice, 134 S. Ct. at 2355 (emphasis added). Because Symbology has failed to




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state a claim upon which relief may be granted, Glanbia respectfully requests that the Court grant

its motion and dismiss this case with prejudice. FED. R. CIV. P. 12(b)(6).

         A.     The ’190 Patent is Invalid Under § 101

                1.      Alice Step 1: Claim 1 of the ’190 Patent is directed to the abstract idea
                        of data recognition and retrieval.

         In determining patent eligibility under § 101, the Court must first determine whether the

claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any plausible reading, the

claims of the ’190 Patent are directed to an unpatentable, abstract idea because they claim

nothing more than the “longstanding,” “routine,” and “conventional” concept of data recognition

and retrieval. See Alice, 134 S. Ct. at 2356–59; Bilski, 561 U.S. at 611.

         Claim 1 of the ’190 Patent is representative of the claims.2 See, e.g., Phoenix Licensing,

L.L.C. v. Consumer Cellular, Inc., No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8–9 (E.D.

Tex. Mar. 8, 2017) (invalidating 974 claims after analyzing only a few “representative claims”

where the other claims were “substantially similar” and “linked to the same abstract idea.”). In

assessing whether Claim 1 is directed to an abstract idea, the Court begins by analyzing the

“focus” of the claim, i.e., its “character as a whole,” in order to determine whether the claim is

directed to an abstract idea. SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1167 (Fed. Cir.

2018).

         All Claim 1 of the ’190 Patent covers is a way to use a barcode to obtain information in

order to access a webpage, consisting of nothing more than a set of basic ideas like capturing,

detecting, decoding, sending, receiving, and displaying data:




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  Where claims are “substantially similar and linked to the same abstract idea,” courts may look
to representative claims in a § 101 analysis. Content Extraction and Transmission LLC v. Wells
Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014).


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                               Claim Language                                     Claimed Idea

 A method comprising:

     capturing a digital image using a digital image capturing device that is   capturing data
        part of an electronic device;

     detecting symbology associated with the digital image using the            detecting data
         electronic device;

     decoding the symbology to obtain a decode string using one or more         decoding data
        visual detection applications residing on the electronic device;

     sending the decode string to a remote server for processing;               sending data

     receiving information about the digital image from the remote server       receiving data
         wherein the information is based on the decode string;

     displaying the information on a display device associated with the         displaying data
         electronic device.

        At a high level, this claim describes the most generic functional steps of a standard

computer (i.e., capturing, detecting, decoding, sending, receiving, and displaying data). Such a

broad concept is not patent eligible because it “recite[s] an abstraction—an idea, having no

particular concrete or tangible form.” Ultramercial, 772 F.3d at 715. That the claim purports to

implement the steps with conventional components like an “electronic device,” a “remote

server,” a “display device,” and generic “visual detection applications” does not make it any less

abstract.

        The specification admits that barcode scanning and decoding programs were prevalent at

the time of the invention. ’190 Pat., 3:42–49. Indeed, the claims implement this prior-art

technology to carry out the steps of capturing, detecting, decoding, and retrieving information

from a server. Claim 1 of the ’190 Patent does no more than use existing technology to recognize

an image, decode the image, then do something based upon the decoded information. It is thus

directed to the abstract idea of data recognition and retrieval.



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       Courts have found similar patent claims to be ineligible. In Content Extraction, the

claims generally recited “a method of 1) extracting data from hard copy documents using an

automated digitizing unit such as a scanner, 2) recognizing specific information from the

extracted data, and 3) storing that information in a memory.” Content Extraction, 776 F.3d at

1345. The claimed method “could be performed by software on an automated teller machine

(ATM) that recognizes information written on a scanned check, such as the check’s amount, and

populates certain data fields with that information in a computer’s memory.” Id. The Federal

Circuit concluded in Alice’s first step that the claims were “drawn to the abstract idea of

1) collecting data, 2) recognizing certain data within the collected data set, and 3) storing that

recognized data in a memory”; or, put simply: “data recognition and storage.” Id. at 1347. In

rejecting the plaintiff’s argument that the claims were not abstract because they required the use

of a scanner, the Federal Circuit likened the claims to those found abstract in Alice, which “also

required a computer that processed streams of bits.” Id. Like the Content Extraction claims,

Claim 1 of the ’190 Patent is abstract because it simply decodes an image to obtain information

and then retrieves data from a server based on that information. The claims in Content Extraction

were directed to data recognition and storage, whereas the ’190 Patent is directed to data

recognition and retrieval—the former claims stored the recognized data, while the latter claims

retrieve additional data based on the recognized data.

       In Recognicorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322 (Fed. Cir. 2017), the Federal

Circuit found the patent claim at issue to be directed toward the abstract idea of “encoding and

decoding image data.” Recognicorp, 855 F.3d at 1324. The claim at issue in Recognicorp recited:

       A method for creating a composite image, comprising:




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           displaying facial feature images on a first area of a first display via a first device
             associated with the first display, wherein the facial feature images are
             associated with facial feature element codes;

           selecting a facial feature image from the first area of the first display via a user
             interface associated with the first device;

           wherein the first device incorporates the selected facial feature image into a
            composite image on a second area of the first display, wherein the composite
            image is associated with a composite facial image code having at least a facial
            feature element code and wherein the composite facial image code is derived
            by performing at least one multiplication operation on a facial code using one
            or more code factors as input parameters to the multiplication operation; and

           reproducing the composite image on a second display based on the composite
             facial image code.

Id. The Federal Circuit described the claim as a “method whereby a user displays images on a

first display, assigns image codes to the images through an interface using a mathematical

formula, and then reproduces the image based on the codes.” Id. at 1326. The Federal Circuit

found that this method reflected “standard encoding and decoding.” Id.

       The Federal Circuit then explained that encoding and decoding data is “an abstract

concept long utilized to transmit information.” Id. (citing Intellectual Ventures I LLC v. Capital

One Fin. Corp., 850 F.3d 1332, 1340–41 (Fed. Cir. 2017) (organizing, displaying, and

manipulating data encoded for human- and machine-readability is directed to an abstract

concept)). The court provided several examples of long-utilized methods of encoding and

decoding of data to transmit information: “Morse code, ordering food at a fast food restaurant via

a numbering system, and Paul Revere’s ‘one if by land, two if by sea’ signaling system all

exemplify encoding at one end and decoding at the other end.” Id. Claim 1 of the ’190 Patent

likewise simply decodes an image to obtain information, an abstract concept.

       Additionally, in Secured Mail, the Federal Circuit found claims directed to encoding and

decoding a bar code invalid under both Alice steps. 873 F.3d at 907. The Secured Mail claims



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“provide[d] a method whereby a barcode is generated, affixed to a mail object, and sent through

the mail system [and t]hen, upon receipt, the barcode is scanned, and data corresponding to the

sender is sent to the recipient over the network and displayed on the recipient’s device.” Id. at

910–11. The Federal Circuit found that “each step of the process is directed to the abstract

process of communicating information about a mail object using a personalized marking.” Id. at

911. And because the claims were “non-specific and lack[ed] technical detail,” utilizing “well

known” technologies and generic hardware, the Federal Circuit concluded that the claims lacked

an inventive concept. Id. at 912.

       The idea underlying Claim 1 of the ’190 Patent is just as abstract as those of the Content

Extraction, Recognicorp, and Secured Mail claims. Claim 1 of the ’190 Patent does not include

any specific limitations or steps regarding extracting data or decoding the data. Rather, all of the

steps required to carry out the method are directed to the generic, conventional ideas of

recognizing an image, decoding the image, and then doing something based upon the decoded

information. Cyberfone Sys., LLC v. CNN Interactive Grp., Inc., 558 F. App’x 988, 992 (Fed.

Cir. 2014) (finding claim directed to “the well-known concept of categorical data storage, i.e.,

the idea of collecting information in classified form, then separating and transmitting that

information according to its classification, is an abstract idea that is not patent-eligible”). That

Claim 1 of the ’190 Patent sends and receives the decoded information over a network does not

make it any less abstract. See, e.g., Ultramercial, 772 F.3d at 716 (noting that “the use of the

Internet is not sufficient to save otherwise abstract claims from ineligibility under § 101”)

(citation omitted).

       Claim 1 thus differs from the claims that the Federal Circuit has held to be eligible

because they claimed specific means for improving specific computer technology or solving




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specific computer problems. For example, the Federal Circuit addressed the eligibility of claims

directed to improving computer security in Ancora Technologies, Inc. v. HTC America, Inc., 908

F.3d 1343 (Fed. Cir. 2018). In that case, the Federal Circuit held the claims eligible and stated,

“Improving security—here, against a computer’s unauthorized use of a program—can be a non-

abstract computer-functionality improvement . . . done by a specific technique that departs

from earlier approaches to solve a specific computer problem.” Id. at 1348 (emphasis added).

The court was persuaded because “[t]he claimed method here specifically identifies how that

functionality improvement is effectuated in an assertedly unexpected way.” Id. The same is not

true of Claim 1 of the ’190 Patent. It does not require a specific and unconventional technique,

and it does not identify any specific improvement to computer functionality, much less an

unexpected way of effectuating such an improvement.

       By only claiming the desired result—recognizing and retrieving information associated

with a pattern like a barcode—without describing any specific roadmap for doing so, Claim 1 of

the ’190 Patent falls short of claiming eligible subject matter under § 101. See Internet Patents

Corp. v. Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015); Secured Mail, 873 F.3d at

910–11.

               2.      Alice Step 2: Claim 1 of the ’190 Patent contains no inventive concept
                       sufficient to transform the abstract idea into patent-eligible matter.

       Because Claim 1 of the ’190 Patent is directed to an abstract idea, the Court must next

determine whether it contains an “inventive concept sufficient to transform the claimed abstract

idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations omitted). To

pass this test, Claim 1 of the ’190 Patent “must include additional features” that “must be more

than well-understood, routine, conventional activity.” Ultramercial, 772 F.3d at 715 (quotation




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omitted). Here, Claim 1 of the ’190 Patent is broadly generic and does not contain meaningful

limitations that would restrict it to a non-routine, specific application of the abstract idea.

       Each of the steps recited in Claim 1 of the ’190 Patent is described only at a high level of

generality as “capturing a digital image,” “detecting” a barcode, “decoding [the barcode] . . . to

obtain a decode string,” “sending the decode string to a remote server for processing,” “receiving

information . . . from the remote server,” and “displaying the information.” To accomplish these

steps, Claim 1 of the ’190 Patent recites the use of an “electronic device,” “visual detection

applications,” and a “remote server.” But the claimed “electronic device” can be virtually any

device capable of taking a photograph (’190 Pat., 2:3–6), the “visual detection applications” can

be a variety of off-the-shelf applications that users have installed on their smartphones (id., 3:42–

46), and the claimed “server” is implemented using generic hardware (id., 10:12–15) to perform

generic website functions (id., 5:47–51).

       The applicant’s own characterizations demonstrate that the claimed components do not

“improve the functioning of the computer itself,” Alice, 134 S. Ct. at 2359, for example by

disclosing an “improved, particularized method of digital data compression,” DDR Holdings,

LLC v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014), or improving “the way a

computer stores and retrieves data in memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327,

1339 (Fed. Cir. 2016). For example, in Enfish, the Federal Circuit distinguished the claims from

others that “simply add[ed] conventional computer components to well-known business

practices,” id. at 1338, holding instead that “they [we]re directed to a specific improvement to

the way computers operate,” id. at 1336. In particular, the unconventional structure of the

database resulted in “increased flexibility, faster search times, and smaller memory

requirements.” Id. at 1337. Unlike Enfish, nothing in Claim 1 of the ’190 Patent shows any




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unconventional methodology that would amount to a “specific improvement to the way

computers operate.” Therefore, the focus of the ’190 Patent is not “on [a] specific asserted

improvement in computer capabilities” but instead “on a process that qualifies as an ‘abstract

idea’ for which computers are invoked merely as a tool.” Id. at 1336.

       There is simply nothing “inventive” about using a known process (i.e., decoding a

barcode) to access a website. See Secured Mail, 873 F.3d at 912. Moreover, the abstract

functional descriptions in Claim 1 of the ’190 Patent are devoid of any technical explanation as

to how to implement the purported invention in an inventive way. See In re TLI Commc’ns LLC

Patent Litig., 823 F.3d 607, 615 (Fed. Cir. 2016) (claims failed Alice’s step 2 where specification

limited its discussion of “additional functionality” of conventional components “to abstract

functional descriptions devoid of technical explanation as to how to implement the invention”).

Similar to the invalidated claim in Recognicorp, nothing in Claim 1 of the ’190 Patent

“‘transforms’ the abstract idea of . . . decoding,” i.e., recognizing information, “into patent-

eligible subject matter.” 855 F.3d at 1328 (citing Alice, 134 S. Ct. at 2357).

       Unlike the Federal Circuit’s decision in Berkheimer, this case does not present any

factual disputes requiring resolution before the Court can decide this § 101 issue. In Berkheimer,

the Federal Circuit noted that the specification explicitly “describe[d] an inventive feature that

store[d] parsed data in a purportedly unconventional manner.” Berkheimer v. HP Inc., 881 F.3d

1360, 1369 (Fed. Cir. 2018). The Federal Circuit then examined whether the improvements

described in the specification were included in the claims. For those claims where the inventive

feature in the specification was “captured in the claims,” the Federal Circuit found a “factual

dispute regarding whether the invention describe[d] well-understood, routine, and conventional

activities.” Id. But where the claims did not recite the purportedly inventive features described in




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the specification, the Federal Circuit concluded that they were directed to patent ineligible

subject matter under § 101. Id. Here, in contrast, there is no need for fact discovery at all because

neither the claims nor the specification of the patent describes any unconventional components

or the use of generic components in some unconventional manner, and no amount of fact

discovery can change that.

       Courts have repeatedly held that the presence of generic hardware and software like the

kind recited in Claim 1 of the ’190 Patent does not make an otherwise abstract idea patent-

eligible. See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“That a

computer receives and sends the information over a network—with no further specification—is

not even arguably inventive.”); Content Extraction, 776 F.3d at 1348 (“At most, [the] claims

attempt to limit the abstract idea of recognizing and storing information from hard copy

documents using a scanner and a computer to a particular technological environment. Such a

limitation has been held insufficient to save a claim in this context.”); Bancorp, 687 F.3d at

1276–77. In addition, an “abstract idea does not become nonabstract by limiting the invention to

a particular field of use or technological environment, such as [mobile services].” Intellectual

Ventures I LL v. Capital One Bank U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015).

       Because Claim 1 is altogether devoid of any “inventive concept,” it is patent-ineligible

under § 101. See Alice, 134 S. Ct. at 2359–60.

               3.      The remaining claims fail both steps of the Alice test.

       The remaining claims of the ’190 Patent relate to the same abstract concept of data

recognition and retrieval. Specifically, each of the other independent claims refers only to

standard computing means for decoding data. For example, the claims describe a “computer

application” comprising “logic” (’190 Pat., Cl. 17), or a “symbology management application”

(id., Cl. 20), to perform each of the steps in Claim 1 of the ’190 Patent.


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       Some of the dependent claims recite limitations for: (1) running visual detection

applications in the background (id., Cl. 4); (2) configuring visual detection applications to

automatically detect barcodes (id., Cl. 5); and (3) analyzing the decode string and selecting

appropriate application to decode (id., Cl. 9). These claims also suffer from the same results-

oriented (and thus ineligible) claim language as Claim 1.

       Other dependent claims recite insignificant pre- or post-solution activity, such as

allowing a user to select certain preferences or store data:

 Pre- or Post-Solution Activity                                                   Claims

 enabling users to select certain preferences                          ’190 Patent (Cls. 2, 3, 18)

 detecting barcodes based on user request                              ’190 Patent (Cl. 7)

 sending instructions to visual detection applications and remote      ’190 Patent (Cl. 8)
 servers

 enabling the user to store information                                ’190 Patent (Cl. 11)

 providing e-commerce options to the user                              ’190 Patent (Cl. 12)

 decoding barcodes using visual search technology                      ’190 Patent (Cl. 15)

       The remaining claims recite activity like alerting the user and asking to decode a barcode,

analyzing a decode string and selecting the appropriate application to decode, allowing the user

to select an application to decode the barcode, and displaying information and images. See, e.g.,

’190 Pat., Cls. 6, 10, 13, 14, 16, and 19.

       Each of these claims, like Claim 1 of the ’190 Patent, is not meaningfully limited because

these activities are not “essential to the invention.” Clear with Computers, LLC v. Dick’s

Sporting Goods, Inc., 21 F. Supp. 3d 758, 763 (E.D. Tex. 2014) (noting limitations must “do

more than recite pre- or post-solution activity, they [must be] central to the solution itself” to be

meaningful) (quotations omitted). Because all of these claims are directed to the abstract idea of


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data recognition and retrieval and none includes any inventive concept, the claims similarly fail

both steps of the Alice test.

        B.      The Disproportionate Risk of Preemption Confirms that the Claims Are
                Abstract.

        Because the claimed methods and systems can be implemented using virtually any device

capable of taking a photograph, any off-the-shelf scanning/decoding application, and any

conventional server capable of sending and receiving information, the ’190 Patent risks

preempting all automated methods or systems for recognizing a pattern, like a barcode, and

retrieving data based on that. See, e.g., Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F.

Supp. 3d 829, 843 (E.D. Tex. 2014) (finding “preemptive effect . . . broad” where “the claims

[were] largely functional in nature, they [did] not provide any significant description of the

particular means by which the various recited functions are performed,” and “[a]ll that [was]

disclosed [was] the ultimate objective”). Therefore, the claims implicate the same preemption

concern undergirding the § 101 analysis and should be found ineligible.

VI.     CONCLUSION

        For the foregoing reasons, Glanbia respectfully requests that the Court dismiss

Symbology’s First Amended Complaint for failure to state a claim upon which relief can be

granted. Because leave to amend would be futile, Glanbia requests dismissal with prejudice.




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Dated: June 12, 2019                 FISH & RICHARDSON P.C.

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